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                    UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                          AUSTIN DIVISION
Whole Woman's Health, et al                   §
vs.                                           §   CIVIL NO:
                                              §   AU:21-CV-00616-RP
Austin Reeve Jackson, Penny Clarkston, Mark §
Lee Dickson, Stephen Brint Carlton, Katherine §
A. Thomas, Cecile Erwin Young, Allison
Vordenbaumen Benz, Ken Paxton

ORDER CANCELLING PRELIMINARY INJUNCTION HEARING
        IT IS HEREBY ORDERED that the above entitled and numbered case having been set
for PRELIMINARY INJUNCTION HEARING BY VIDEO on Monday, August 30, 2021
at 09:00 AM is hereby CANCELLED until further order of the court.

        IT IS SO ORDERED this 29th day of August, 2021.




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                                             ROBERT PITMAN
                                             UNITED STATES DISTRICT JUDGE
